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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &            FOR COURT USE ONLY
 Email Address
 JOHN-PATRICK M. FRITZ (State Bar No. 245240)
 LINDSEY L. SMITH (State Bar NO. 265401)
 LEVENE, NEALE, BENDER,
 YOO & GOLUBCHIK L.L.P.
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 Telephone: (310) 229-1234
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 Email: JPF@LNBYG.COM; LLS@LNBYB.COM

 Attorneys for Chapter 11
 Debtor and Debtor in Possession
 .

                                        UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
 In re                                                      Case No.: 2:22-bk-10266-BB

 ESCADA AMERICA LLC,                                                               Chapter 11 Case
                                                                                   Subchapter V

                      Debtor.
                                                                                   NOTICE OF LODGMENT OF ORDER IN
                                                                                   BANKRUPTCY CASE RE: (title of motion1):
                                                                                   Stipulation By Escada America, LLC and Brookfield
                                                                                   Properties Retail, Inc., Simon Property Group, Inc., and
                                                                                   certain of their respective affiliates (collectively, the
                                                                                   Creditors) -[Amended Stipulation To Extend Deadlines
                                                                                   And Scheduling Regarding: (I) Debtors Motion For
                                                                                   Order: (I) Authorizing Use Of Cash Collateral Pursuant
                                                                                   To Section 363 Of The Bankruptcy Code; And (Ii)
                                                                                   Approving Adequate Protection [Ecf 101]; And (Ii)
                                                                                   Objection Of Simon Property Group And Brookfield
                                                                                   Properties Retail To Debtors Subchapter V Election Or,
                                                                                   Alternatively, Motion For Appointment Of An Official
                                                                                   Committee Of Unsecured Creditors


PLEASE TAKE NOTE that the order titled ORDER ON CHAPTER 11 STATUS CONFERENCE APPROVING AMENDED
STIPULATION TO EXTEND DEADLINES AND SCHEDULING REGARDING was lodged on (date) April 8, 2022 and is
attached. This order relates to the motion which is docket number 117.




         1
             Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, California 90034


A true and correct copy of the foregoing document entitled NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 8, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) April 8, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


None.
                                                                                         Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 8, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


None.                                                                                    Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 8, 2022               Jason Klassi                                                    /s/ Jason Klassi
 Date                        Printed Name                                                    Signature




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Dustin P Branch on behalf of Creditor The Macerich Company
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John C Cannizzaro on behalf of Creditor 717 GFC LLC
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Michael J Darlow on behalf of Creditor Harris County Municipal Utility District #358
mdarlow@pbfcm.com, tpope@pbfcm.com

Caroline Djang on behalf of Interested Party Caroline R. Djang
caroline.djang@bbklaw.com, laurie.verstegen@bbklaw.com;wilma.escalante@bbklaw.com

Eryk R Escobar on behalf of U.S. Trustee United States Trustee (LA)
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jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com

William W Huckins on behalf of Creditor Brookfield Properties Retail, Inc.
whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com

William W Huckins on behalf of Creditor SIMON PROPERTY GROUP INC
whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com

Gregory Kent Jones (TR)
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mkogan@koganlawfirm.com

Kristen N Pate on behalf of Creditor Brookfield Properties Retail, Inc.
ggpbk@ggp.com

Lindsey L Smith on behalf of Debtor Escada America, LLC
lls@lnbyg.com, lls@ecf.inforuptcy.com

Ronald M Tucker, Esq on behalf of Creditor SIMON PROPERTY GROUP INC
rtucker@simon.com, cmartin@simon.com;psummers@simon.com;Bankruptcy@simon.com

United States Trustee (LA)
ustpregion16.la.ecf@usdoj.gov




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